                       Case 2:15-cr-00180-DWA Document 26 Filed 03/16/17 Page 1 of 5
A<F245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 1



                                              UNITED STATES DISTRICT COURT
                                      Western District of Pennsylvania
                                                       )
              UNITED STATES OF AMERICA                 )     JUDGMENT IN A CRIMINAL CASE
                          v.                           )
                                                       )
                   SANTINO ACHILLE                           Case Number: 15-180
                                                       )
                                                       )     USM Number: 36400-068
                                                       )
                                                       )      James A. Wymard
                                                       )     Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)        1
                                    -----------------------------------~


0   pleaded nolo contendere to count(s)
    which was accepted by the court.
0 was found guilty on count(s)
    after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

                                  Nature of Offense
                                   ~A-yz-~~   y~PV     A~~~~               W~~~~"<_- -..,r::~-:~~~~                          ~r      A'"""   "'~~r~ -">""'-;·,;~·:•



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                                    :J~,;,,;f;:&.~-.-'>!'.~.•.. :~oi;,m.<-i,~v:&~A'"~;,>h,t-l»...,~~~,_,.,.«,~~<,~>•~U,,,,,,"';;~,,;.._,,.:..::...,,,,,;0~.:•.




       The defendant is sentenced as provided in pages 2 through                                              ----
                                                                                                                       5                  of this judgment. The sentence is imposed pursuant to
the Sentencing R~form Act of 1984.
0 The defendant has been found not guilty on count(s)
0 Count(s)                                                                   0 is                0 are dismissed on the motion of the United States.
                -------------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in econonuc circumstances.

                                                                                                               3/16/2017
                                                                                                             Date of Imposition of Judgment



                                                                                                            ~$.~
                                                                                                               Donetta W. Ambrose, U.S. Senior District Judge
                                                                                                             Name and Title of Judge


                                                                                                               3/16/2017
                                                                                                             Date
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                       Judgment in a Criminal Case
                       Sheet 4-Probation
                                                                                                    Judgment-Page ____2__ of         5
 DEFENDANT: SANTINO ACHILLE
 CASE NUMBER: 15-180
                                                           PROBATION

 You are hereby sentenced to probation for a term of:
     3 years.




                                               MANDATORY CONDITIONS
1.  You must not commit another federal, state or local crime.
2.  You must not unlawfully possess a controlled substance.
3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
    probation and at least two periodic drug tests thereafter, as determined by the court.
           Ill The above drug testing condition is suspended, based on the court's determination that you pose a low risk of futun~
                substance abuse. (check if applicable)
4.   Ill You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.   D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
         where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.   D You must participate in an approved program for domestic violence. (check if applicable)
7.   0 You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
    fines, or special assessments.                                                                     ·


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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                       Sheet 4A- Probation
                                                                                                                   3__ of _ _ _5___
                                                                                                 Judgment-Page _ _ _

DEFENDANT: SANTINO ACHILLE
CASE NUMBER: 15-180

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
      you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from ·
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a f~lony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
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!Y:O 245B (Rev. 11/16)   Judgment in a Criminal Case
                         Sheet 4B - Probation
                                                                                            Judgment-Page    4    of       5
DEFENDANT: SANTINO ACHILLE
CASE NUMBER: 15-180

                                               . ADDITIONAL PROBATION TERMS
 1. The defendant shall not illegally possess a controlled substance.

 2. The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

 3. The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant to 28 C.F.R. §
 28.12, the DNA Fingerprint Act of 2005, and the Adam Walsh Child Protection and Safety Act of 2006.

 4. The periodic drug testing mandated by the Violent Crime Control and Law Enforcement Act of 1994 is hereby waived.
 The Court finds that this offense is not drug related, and this defendant has no current or past history of substance abuse.
      )
        er<-
                        Case 2:15-cr-00180-DWA Document 26 Filed 03/16/17 Page 5 of 5
A~ 245B (Rev. 11/16) Judgment in a Criminal Case
                     . Sheet 5 - Criminal Monetary Penalties
                                                                                                          Judgment - Page      5   of --~5~--
 DEFENDANT: SANTINO ACHILLE
 CASE NUMBER: 15-180
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                   JVTA Assessment*                                             Restitution
TOTALS             $ 100.00                     $                                   $                         $ 0.00



 D The determination ofrestitution is deferred until - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned paYII!ent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C: § 3664(1), all nonfederal victims must be paid
     before the United States is paid.




 TOTALS                              $                           0.00           $                         0.00
                                                                                    ----------

 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the             D fine      D restitution.
       D the interest requirement for the           D    fine    D      restitution is modified as follows:

 *Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
 **Findings for the total amount of losses are required under Chapters l09A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
